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KOLMAN ELY, P.C.
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Two Penn Center Plaza, Suite 200 Ce ee ean 600 Grant Street, Suite 660
Philadelphia, PA 19102 (215) 750-3134 Pittsburgh, PA 15219
August 20", 2012

Via Facsimile to 267-299-5069

The Honorable Paul S. Diamond
United States District Court for the
Eastern District of Pennsylvania
6" Floor, Room 6613

601 Market Street

Philadelphia, PA 19106

Re: Bustin v. Abercrombie & Fitch Co.
Civil Action No. 10-1675

Dear Judge Diamond:

Pursuant to the Court’s Order of August 16%, 2012 (docket item no. 135), I write to
provide copies of the newly-provided documents (consisting of a series of notes by Scott Mayer)
showing that: (a) Matthew Smith was an agent of Defendant and (b) that a second deposition of
Smith is warranted, Enclosed for the Court’s review are the following documents:

a. Mayer note referring to Matthew Smith as an “ANF [Abercrombie & Fitch]
“decisionmaker.” See attached Exhibit “1” (Bates no. 1067 (emphasis added).

b. June 11, 2009 note made during negotiations with various entities (one of which
was Jet Aviation) to assume Defendant’s aviation management contract and
referencing:

i. the fact that Matthew Smith “no longer wants” a pilot named
“Tad” See attached Exhibit “2” (Bates no. 1181);

ii. the fact that Matthew Smith will do a “final interview”
for crew members after Janine Beaudette and Scott Mayer do an
“initial A & F interview” for crew members. See attached Exhibit
“2” (Bates no. 1181).

c. Mayer note of June 16, 2009 confirming that Matthew Smith conducts the final
interview” of all candidates for “form [and] fit.” See attached Exhibit “3” (Bates

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The Honorable Paul S. Diamond
August 20, 2012
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no. 1184)(emphasis added). This note makes it clear that Defendant (and indeed,
Matthew Smith himself) had reserved the power to reject pilots for “form “ and
“fit” (which we now know from Smith’s own words means “age”, see infra
Exhibit “6"’) and that Jet Aviation simply vetted pilots for “qualifications” before
they were subjected to Defendant’s interview process (which, based on this note
and the chart in the next note (Exhibit “4”, infra), included Matthew Smith as the
final hurdle before a pilot was selected or rejected).

d. Mayer note of June 25, 2009 listing Matthew Smith on an interview
progression chart as final interviewer before “‘hire!” of candidates. See attached
Exhibit “4” (Bates no. 1198).

e, August 6, 2009 Mayer note that appears to reflect a plan by Defendant to
eliminate Plaintiff and another older pilot (Michael Palmer) and conceal a full
time pilot job posting from them, and questioning “how to respond” if they learn
of the effort to replace them. See attached Exhibit “5” (Bates no. 1239). This
page also contains a reference to the timing of “notification” to Plaintiff and
Palmer (part of the note is illegible).

f. On September 8, 2009, Mayer documented several comments from Matthew
Smith directly referencing a pilot’s age following a flight to the effect that the
flight made Smith “very nervous”, because (according to Matthew Smith):

~The pilot was “horrendous”;

-There was “no way” the pilot met Defendant’s (or Matthew
Smith’s) “form and fit” requirements (this note is followed by the
word “age” in parenthesis);

-Matthew Smith commented that he “didn’t know they could fly
that old.” (emphasis added).

-Matthew Smith commented that it was necessary to “beat them
(presumably Jet Aviation] over the head with a sledge hammer”
and that “it’s not fully transitioned until we have an understanding
of what a brandright [sic] pilot is.” Smith also stated that “with the
market the way it is, this should be easy.”

-Matthew Smith admits he acts as a manager of Defendant’s
aviation program, concluding his remarks to Mayer by stating that
“I wouldn’t want the program to fail because I left mgmt. too
early.”

See attached Exhibit “6” (Bates no. 1267) (emphasis added).
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The Honorable Paul S. Diamond

August 20, 2012
Page 3 of 5
g. Three pages after the foregoing note, Scott Mayer notes that Matthew Smith’s

“overarching” concems about pilots and the fact that the “‘transition [was] not
complete yet” were expressed in a “very direct” manner and that Jet
was aware of them. See attached Exhibit “7” (Bates no. 1270).

On October 5, 2009, Mayer noted that Defendant's plan was to make “major
changes” in its aviation program. See attached Exhibit “8” (Bates no. 1281).

On or after December 15, 2009, on learning that Plaintiff had expressed concerns
about the behavior of new (and younger) pilot Alex Schube, see Bates no.1319,
including his questioning of Plaintiff's decisions (Plaintiff of course was the
pilot in command), id., and after Alex Schube responded to the foregoing
concerns during a phone call in what Mayer describes as an ‘“‘unprofessional”
manner, id, Mayer’s “next steps” included having a “come to Jesus” talk with
Schube - - and firing Plaintiff. See attached Exhibit “9” (Bates no. 1321).

This is interesting because Alex Schube is retained as a pilot (and Plaintiff is
fired) despite Schube’s admission that he engaged in “poor communication” with
Plaintiff, Bates no. 1320, the fact he was “unprofessional” on the phone when
questioned about his interactions with Plaintiff, Bates no. 1319, and the fact that
he acted in an “immature” manner. Jd. Of course, it had long since been decided
by Defendant that Plaintiff was being replaced anyway. See supra Exhibit “‘5”.

Mayer’s notes also show he obtained the approval of Matthew Smith for
Plaintiff's firing. Mayer’s “next steps” after the foregoing incident

included notifying Matthew Smith to “get (his) approval to terminate [Plaintiff]
ASAP.” See attached Exhibit “9” (Bates no. 1321) (emphasis added).

On February 17, 2010 (after Plaintiff was terminated), Jeanine Beaudette of the
Jeffries Family Office asked Mayer (who documented the question verbatim):
“IcJan we do something about Palmer on Tuesday’s flight? Michael [Jeffries]
and Matthew [Smith] prefer younger pilots on flights w/ larger groups.”

See attached Exhibit “10” (Bates no. 1345) (emphasis added).

Mayer's notes also confirm that Matthew Smith made the final decision on the
new aviation contractor to replace Global Aviation, and that he issued a
“direction” to “move forward” with Jet Aviation as the new contractor. See
attached Exhibit “11” (Bates no. 1183). It is clear from this note that Matthew
Smith is “directing” Mayer (and hence Defendant) to select a certain contractor
he has chosen. Mayer than writes that he will begin contract discussions with Jet
Aviation. Mayer then makes a note that he has advised Global Aviation (the
former contractor) of the following, making it crystal clear who makes the
decisions for Defendant:

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The Honorable Paul S. Diamond
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Page 4 of 5

“Matthew has made the decision to move to a new
mgnit. company.”

See attached Exhibit “11” (Bates No. 1186)(emphasis added).

m. On May 17, 2010, Mayer documents comments from Matthew Smith to the effect
that Smith will agree to “try out” a particular means of travel scheduling although
he feels it is “complicated” and that Smith “didn’t like” heavy involvement by a
particular employee (“Mary Ann”) in scheduling. Smith then suggests another
employee (“Shari”) to handle scheduling. See attached Exhibit “12” (Bates no.
1397);

n. In the same note, Matthew Smith is quoted as stating that he feels he was being
“bullied” into accepting certain full-time pilots and that Smith “feels it’s
crap that we can’t find brand appropriate pilots.” See Bates attached Exhibit “12”
(Bates no. 1397). Smith followed this conversation up with the drafting of a
“realistic plan” he sent to Mayer (and which has not been produced by
Defendant). See Exhibit “12” (Bates no. 1399. Also not produced to date is a
“Pilot Consistency Plan” Mayer refers to at Exhibit “12, Bates no. 1398.

0. As recently as August of last year, Mayer also documents a meeting on the “new
G-550” jet with Matthew Smith to discuss “interior configuration options” and
the selection of a new vs. a used jet. See attached Exhibit “13” (Bates no. 1686).

p. Matthew Smith also conducted regular inspections of Defendant's aircraft hangar
and issued detailed directions to Mayer of the items he wanted changed after each
inspection. Mayer documents one such inspection, and the subsequent lists of
tasks assigned by Smith, on October 22, 2009, when he conducted an aircraft
hanger walkthrough with Smith during which Smith expressed demands ranging
from removal of equipment kits (a “HINI FLU” kit) to ensuring “flip flops” were
on the aircraft. See attached Exhibit “14” (Bates no. 1290). Similar walkthroughs
with Smith took place on December 3, 2009 (where Smith again made demands,
including one that stickers be removed from all cleaning supplies, see attached
Exhibit “14” (Bates no. 1310)), on January 21, 2010 (where Smith demanded
that labels be peeled from ladders and that the Abercrombie logo be placed on the
hangar rug), see attached Exhibit “14” (Bates no. 1335), on February 11, 2010
(where Smith’s demands included lining up binders on one side and painting the
aircraft tow bar to match the plane), see attached Exhibit “14” (Bates no. 1345),
and on March 4, 2010 (where Smith demanded removal of a trash can sticker and
provision of a specific pen for the maintenance clipboard). See attached Exhibit
“14” (Bates no. 1354).

As [ stated in my letter last week, it is clear from the foregoing notes (none of which were
produced until after the discovery deadline elapsed) that Matthew Smith was and is a decision-
making agent of Defendant and that the Court may exercise jurisdiction over him and order
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The Honorable Paul S. Diamond
August 20, 2012
Page 5 of 5

Defendant to produce him for a second deposition and for trial. I may obtain additional

information relevant to the Court’s determination on Matthew Smith’s status at the second
deposition of Scott Mayer, which is scheduled for tomorrow (August 21, 2012).

Respectfully,

KOLM Y,P.C.
By: oY
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Way Bly, Paie
Enclosures

ce: Lori A. Halber, Esquire (via facsimile to 215-399-2249)
Rick Grimaldi, Esquire (via facsimile to 215-399-2249)

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